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                                                                                   USDC1SDNY
                                                                                          of 2
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                                                                                   DOC #:
UNITED STATES DISTRICT COURT                                                       DATE FILED: 5/20/2024
SOUTHERN DISTRICT OF NEW YORK
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KANCHAN CHANDRA,
                                                                    Case: 1:24-cv-03105 (VEC)(SDA)
                                   Plaintiff,
                                                                    STIPULATION EXTENDING
        - against -                                                 TIME TO ANSWER

NEW YORK UNIVERSITY, NEW YORK
UNIVERSITY IN ABU DHABI
CORPORATION, PAULA ENGLAND, in
her individual capacity, HERVE CRES, in his
individual capacity, and JEFFREY
TIMMONS, in his individual capacity,

                                    Defendants.
--------------------------------------------------------------x

        IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned that

the time for defendants New York University and New York University in Abu Dhabi Corporation

(“Defendants”) to answer or otherwise move with regard to the complaint in the above-captioned

action is extended through and including June 28, 2024;

        IT IS FUTHER STIPULATED AND AGREED, that Defendants hereby waive all

defenses relating to service of process;

        IT IS FURTHER STIPULATED AND AGREED, that this Stipulation may be executed

in counterparts and that an electronically transmitted or facsimile copy of this Stipulation shall be

deemed an original.


Dated: Uniondale, New York
       May 20, 2024

CHARNY & WHEELER P.C.                                         CULLEN AND DYKMAN LLP

By: ____________________________                              By:______________________________
    Nathaniel K. Charny                                          Roxanne L. Tashjian
    Attorneys for Plaintiff                                      Attorneys for Defendants
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  42 West Market Street                            333 Earle Ovington Blvd., 2nd Floor
  Rhinebeck, New York 12572                        Uniondale, New York 11553
  NCharny@charnywheeler.com                        rtashjian@cullenllp.com




Application GRANTED. The deadline for Defendants New York University and New York
University in Abu Dhabi Corporation to answer or otherwise respond to the Complaint is
extended to Friday, June 28, 2024.

SO ORDERED.



                            5/20/2024
HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE




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